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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.     22-80173-CR-CANNON

  UNITED STATES OF AMERICA,
      Plaintiff,

  vs.

  WILLIAM MICHAEL SPEARMAN,
        Defendant.
  ____________________________________:


                             NOTICE OF ASSIGNMENT

        The above captioned case has been assigned to the Assistant Federal Public

  Defender specified below. Please send all notices and inquiries to this attorney at

  the address listed.


                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        Federal Public Defender

                                        s/ Scott Berry
                                        Scott Berry
                                        Assistant Federal Public Defender
                                        Attorney for the Defendant
                                        Florida Bar No. 0525561
                                        450 South Australian Avenue, Suite 500
                                        West Palm Beach, Florida 33401
                                        (561) 833-6288 - Telephone
                                        Scott_Berry@fd.org




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                             CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                         s/ Scott Berry
                                         Scott Berry




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